                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:06cr55

UNITED STATES OF AMERICA                             )
                                                     )
                       vs.                           )
                                                     )                     ORDER
                                                    )
KHOA NGUYEN                                         )
                                                    )


       On May 9, 2006 Defendant Khoa Nguyen pleaded guilty to one count of conspiracy to

distribute a controlled substance, an offense for which a term of imprisonment of more than ten

years is prescribed in the Controlled Substances Act. Thereafter, the defendant moved for release

pending sentencing. (Doc. No. 103). On May 24, the Court conducted a hearing on the motion.

Because the defendant was subject to the detention provisions of 18 U.S.C. § 3143(a), and did not

qualify for any of the exceptions contained in § 3143(a)(2), the Court denied the defendant’s

motion. The Court, however, invited the defendant to submit any authority suggesting the Court

had discretion regarding his detention.

       The defendant re-filed his motion for release pending sentencing. (Doc. No. 116). While

the defendant concedes that the express language of § 3143 requires detention, he contends that

§ 3145(c) creates an “exception to the language requiring detention in post-plea drug cases under

18 U.S.C. § 3143,” by permitting release pending sentencing in cases where a “judicial officer”

determines that “exceptional reasons” exist that make detention inappropriate. The defendant

acknowledges that there is some ambiguity whether the section gives this Court independent

original jurisdiction to apply § 3145(c). He notes, however, that the majority of courts that have

considered the issue have concluded that district courts have the authority to determine whether

                                                1


       Case 3:06-cr-00055-RJC             Document 122       Filed 06/08/06       Page 1 of 6
there are “exceptional reasons.”1 He contends that these cases provide ample authority for the

Court to conclude the same. Notwithstanding the cases cited by the defendant, the plain-reading

of the statute as well as the well-reasoned decisions in United States v. Salome, United States v.

Nesser, and United States v. Chen,2 compels the Court to conclude that the “jurisdiction

established by § 3145(c) is appellate jurisdiction, not original jurisdiction to act independently.”

Salome, 870 F.Supp. at 653. Accordingly, this Court lacks the authority pursuant to § 3145(c) to

determine whether there are “exceptional reasons” that make the defendant’s release pending

sentencing appropriate. Therefore, the defendant’s motion is denied.

                                               ANALYSIS

       Title 18, United States Code, Section 3145(c) provides that a defendant who is subject to

detention pursuant to § 3143(a)(2), may be released if he posses neither risk of flight nor danger

to the community and there are “exceptional reasons” that make detention inappropriate. It reads:

       An appeal from a release or detention order, or from a decision denying revocation
       or amendment of such an order, is governed by the provisions of section 1291 of
       title 28 and section 3731 of this title. The appeal shall be determined promptly. A
       person subject to detention pursuant to section 3143(a)(2) or (b)(2), and who meets
       the conditions of release set forth in section 3143(a)(1) or (b)(1), may be ordered
       released, under appropriate conditions, by the judicial officer, if it is clearly shown
       that there are exceptional reasons why such person's detention would not be
       appropriate.




1
 See United States v. Garcia, 340 F.3d 1013, 1014 n. 1 (9th Cir.2003); United States v. Mostrom, 11 F.3d
93, 95 (8th Cir. 1993); United States v. Jones, 979 F.2d 804, 806 (10th Cir. 1992) (per curiam); United
States v. Herrera-Soto, 961 F.2d 645, 647 (7th Cir.1992) (per curiam); United States v. Carr, 947 F.2d
1239, 1240 (5th Cir. 1991) (per curiam); United States. v. DiSomma, 951 F.2d 494, 496 (2d Cir. 1991);
United States v. Carretero, 1999 WL 1034508 at *4 (N.D.N.Y. Nov. 4, 1999); United States v. Burnett, 76
F.Supp.2d 846, 847-49 (E.D. Tenn. 1999).

2
 See United States v. Chen, 257 F.Supp.2d 656 (S.D.N.Y. 2003); United States v. Nesser, 937 F.Supp.
507, 508-09 (W.D. Pa. 1996); United States v. Salome, 870 F.Supp. 648, 652-53 (W.D. Pa.1994), aff’d
without opinion, 96 F.3d 1436 (3d Cir. 1996).
                                                   2


        Case 3:06-cr-00055-RJC               Document 122             Filed 06/08/06           Page 2 of 6
For the reasons that follow, the district court lacks authority to order release upon its finding of

“exceptional reasons.”

       First, as the language of the statute makes plain, § 3145(c) is not available absent “an

appeal from a release or detention order.” Both the title of the section (“appeal from a release or

detention order”) and the use of the word “appeal” in place of “review” indicate that the section

concerns the authority of only appellate courts to release a defendant, and does not permit any

action by a district court. Chen, 257 F.Supp.2d at 660.

       Second, the overall structure and logical progression of § 3145 invites the conclusion that

subsection 3145(c) applies only to appellate courts. As both the Nesser and Salome courts

observe, § 3145 is divided into three subsections. Sections 3145(a) and (b) respectively concern a

district court’s “review” of orders concerning conditions of release and detention entered by “a

magistrate judge, or by a person other than a judge of a court having original jurisdiction over the

offense and other than a Federal appellate court.” Section 3145(c), however, governs an “appeal

from a release or detention order, or from a decision denying revocation or amendment of such an

order.” (emphasis added). Thus, § 3145 provides for “review” by “the court having original

jurisdiction over the offense,” §§ 3145(a) and (b), and progresses to a right to an “appeal” from a

release or detention order, § 3145(c). Nesser, 937 F.Supp. at 509. A chart of the statutory

structure would look something like this:

                                          18 U.S.C § 3145
        Statute           Nature of Action                  Subject                   Court
    Section 3145(a)             review                    Release Order           District Court
    Section 3145(b)             review                Detention Order             District Court
    Section 3145(c)             Appeal          Release or Detention Order       Appellate Court


                                                 3


       Case 3:06-cr-00055-RJC            Document 122        Filed 06/08/06    Page 3 of 6
       Additionally, as the Nesser and Salome courts point out, an appeal from a release or

detention order under § 3145(c) is expressly governed by the provisions of 28 U.S.C. § 1291 and

18 U.S.C. § 3731, both of which relate solely to review of a final order of a district court by a

court of appeals. Moreover, after specifying that an appeal from a release or detention order is

governed by these two statutes, the “exceptional reasons” provision immediately follows. Chen,

257 F.Supp.2d at 661. The Nesser court found the references to these other two statutes to be an

“unmistakable indication that such an appeal is appropriately taken to the courts of appeals.

Otherwise, the first sentence of § 3145(c) makes no sense. It is not logical to construe the first

sentence as giving the district courts power to hear appeals (from themselves, no less) pursuant to

two statutes whose purpose is to establish the scope of jurisdiction for courts of appeal.” 937

F.Supp. at 509. Likewise, the Salome court concluded “[i]n light of this language it is illogical to

postulate that a district court should apply § 3145(c) when initially ruling on a release or

detention order.” 870 F.Supp. at 652.

       Finally, while both §§ 3145(a) and (b) contain references to judicial decision-makers

“other than a Federal appellate court,” § 3145(c) omits this language. The natural and justifiable

conclusion to draw from this structure is that the “other than a Federal appellate court” language

is left out of § 3145(c) because Congress was addressing federal appellate courts in that section,

and so did not need to separately distinguish them. Nesser, 937 F.Supp.2d. at 509.

       The Court is aware that many circuit and district court opinions from outside of the Fourth

Circuit have reached the opposite conclusion. However, as these are not binding precedents, the

Court writes on a clean slate. And the Court finds that the analysis by the minority courts “stands

on firmer ground.” Chen, 257 F.Supp.2d. at 661. In fact, the latter cases are rooted in logic and

proper principles of statutory construction.

                                                 4


       Case 3:06-cr-00055-RJC           Document 122       Filed 06/08/06      Page 4 of 6
       In contrast, an examination of some of the majority courts’ opinions reveals that they

uniformly provided cursory or conclusory treatment.       In particular, the Court finds that the

opinions in such cases as United States v. Carr and United States v. Herrera-Soto, which provide

the most in depth analysis of the district court authority to use § 3145(c), ignore the plain

language of § 3145, as well as well-settled principles of statutory construction by holding that

“judicial officer” encompasses both lower courts and courts of appeal since § 3143 uses the term

“judicial officer” to refer to the individuals who initially order mandatory detentions. See Nessar

and Chen, supra (deconstructing the reasons proffered in Carr).

       Further examination of many of the majority courts’ opinions reveals that they often

declined independent statutory analysis “in favor of reliance on stare decisis.” Nessar, 937 at

509; See United States v. Carr, 947 F.2d 1239, 1240 (5th Cir.1991) (per curiam) (finding term

“judicial officer” includes both district and appellate judges); United States v. Herrera-Soto, 961

F.2d 645, 647 (7th Cir.1992) (per curiam) (same); United States. v. DiSomma, 951 F.2d 494, 496

(2d Cir.1991); United States v. Mostrom, 11 F.3d 93, 95 (8th Cir.1993) (accepting without

analysis that a district court may utilize § 3145(c)); United States v. Garcia, 340 F.3d 1013, 1014

n. 1 (9th Cir.2003) (agreeing with analysis that district courts may consider whether exceptional

reasons justify bail, without undertaking independent analysis).      “[T]his circle of decisions,

however well-intentioned, reflects a certain circularity of reasoning.” United States v. Bloomer,

791 F.Supp 100, 102 n.1.

       Moreover, some of the district courts in the majority concede that according to basic

principles of statutory construction, § 3145(c) likely should not be available to district or

magistrate judges.   However, for reasons of stare decisis and “the overwhelming weight of

contrary authority” they have held that district courts may apply § 3145(c). See, e.g., Burnett, 76

                                                5


       Case 3:06-cr-00055-RJC          Document 122         Filed 06/08/06      Page 5 of 6
F.Supp.2d at 847-49 (“[w]hile the Court finds the analysis of the Western District of

Pennsylvania logical and persuasive, the Court notes the great weight of authority has reached a

contrary conclusion, although in most cases in a peremptory manner without any detailed

comment or analysis.”); United States v. Devinna, 5 F.Supp.2d 872, 873 (E.D.Cal. 1998) (finding

Salome and Nesser to be “persuasively reasoned” but following the “overwhelming weight” of

the five circuit opinions); United States v. Cantrell, 888 F.Supp. 1055, 1057 (D.Nev. 1995)

(same); Bloomer, 791 F.Supp. at 102 (“opining that § 3145(c) by its very provisions applies

exclusively to reviewing courts and not to courts which initially ordered release or detention”).

       In sum, the Court finds it would be curious to have a “two-tiered” process for determining

detention review, by which a district court would hear appeals from its own detention orders.

Furthermore, the Court finds implausible a reading of statutes that requires detention in the first

instance absent certain narrow exceptions (§ 3143), and then a right of appeal to the same court

for release on broader and different grounds (§ 3145(c)). Such strained exegesis could not have

been contemplated by Congress.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion for Release Pending

Sentencing is DENIED.

                                                  Signed: June 8, 2006




                                                 6


       Case 3:06-cr-00055-RJC          Document 122         Filed 06/08/06     Page 6 of 6
